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           X                     l'l        GG e!!i
      Case 4:21-cv-00366 Document 1-2 Filed on 02/03/21 in TXSD Page 2 of 511 2/21 /2020                                                   3:53 PM
                                                                                               Marilyn   Burgess    - Distrtct Clerk Harris County
                                                                                                                          Envelope No. 49144541
                                      2020-81959                      / Court:     165                                          By: Bemitta Banett
                                                                                                                       Filed: 12/21/2020   3:53 PM

                                                      NO.


C.}:IAN IN"J'HAVONO.                                                                 IN THE. DISTRICT COURT

           Plaintiff.




NrI5,,K ,5,00SrA                 AND NORTHWEST
                                           !'                                                    ,6
           Defe'ndants-                                          e,




       Cliai'i Intliavong ("Plaintiff'          or "Mr.        Intliavong) files      riginal Petition     against          Nick


RciosaandNort}rwestI,ogisticsHea.vy Ha.ul (collectively, 'tl                       dant.s") as fo'llows:

                                                  N.           nxscovd
       .Plaintiff
              iniends to conduct discovery un%#el                           2 of TEX. :R. CTv. P. 190.




       1.               Tliis is a negligence,rieg]$ce            perse, and!or gross negligence cause of action.

Because of Defen.dants" neglige.nce .t4'ence                     per sg, a'i.iaforgross negligence, Plaintiff suffered
                                            (   s"j


severe perscmal          injuries.
                                         @



        3. Nick,,*sa
                  ("Mr.  isanon-resident
                     Roosa.")      mototist
                                       andsi'racesuit
                                              f.his arises
                                                        from
       ,offi%ion
Mr.Roosa's   ofamot.or
                   vehicle
                        inth.is
                             state,
                                 hemay
                                     beserved
                                           pursuant
                                                toTexas
                                                      Civil
Practice                 medies Code, Section 17.061 ai'id 17.062, etseq. througli 'Brtice Brigg,                  J'r.,   ii'i   i'iis


official capacity as the Chair of the Texas Transportation Commission, at 125 E. ilth                                      Street,

Austi'ri, 'I'exas 78701-2483. C)nceIimcess is served on the ".l'exasTransportatio.n Co.i'rin.iission,the

Commission is requested to itnmediately n'iail a copy of tlie process by reg.iste.redmail or by



PLAJNT.!IFF'S           O'RJG'[N'AL   PETNTNON-        pageI
2004172.1
        Case 4:21-cv-00366 Document 1-2 Filed on 02/03/21 in TXSD Page 3 of 51



c.ertified mail retum receipt requested to the Defcndaixt's                              Ixome address as follows:


                          Nick    Roosa
                           9540 SW        25'h Street
                           Oklahom.a       City, OkIlahoma 75128




17.045, because Northwest                      -.r,ogistic.s is a nonresidertt      wbo engages in busiry              QUn Texa.s,   but h.as


not designatedor maintaii'ied                    a residentagentfor service of processin tJlate                         or a regular place

of businessin this state, the Texas Secretaryof State is an agen4'ervice
                                                                       of process on this

DeftxlanI               and serviceof processrnay be obtainedover this Dldant                                  by servin.gprocesson tbe



isrequestedtoinii'i'iediatelymailacopyofthcprocesspo
                                           steredn'iai[orbvceitiiiedmailretum             ;-
receipt requestedto tlie Defendant'shot'iteoffice@lows:


                           2900 W Reixo          AVelllle

                           Oklahoma        City-,    Okla.ho.tJ.      107




occurred         ii'i   Harris   Coty-,        Texas.


                                        +urt   has subject matter ,iurisdiction becausethe anio'int in controversy

exceeds the                      um jurisdictio.nal         arnount. of this C.'.ourt.


                                                            FACTUAL          BACKGROUND


            7.             On     rir   about       July    12,   20.19,   Plaintif:'f    was      perfori'ning      work   with     :Exterran


Corporation.,             located at 4444 Brittmoore              Street in Harris       County,     l'exas.      That day, Mr. Intba'vorig




PLA.N.NTNFF'S ()RTGNNAT, PET'ITJ.ON'- page2
xooaii:z.i
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was wo.iking ot.itop a c.her'rypic.ke.'r
                                      when, without notice, tlie clieri7 picker was st'itickby a tractor

trailer    operated       by Mr. Roosa,            causing     tbe cheriy-picker               and 'l)la.intiff          to fall to the concrete           floor


("tlic    Inciden.t").      .As a result     of tl'ie mcidetit,          hi{r. It.ithavong        severe 'personal              'injuries.


                         Upoxi       information       and     belief,       Mr.    Roosa         was     iii     tlie     course    aixd qcope           of   his


en"iploymeiitwith Northwest Logistics and operatingunder its logo at tlie time J(q                                                              Incident.

                                                    VN.         CAtrSES            OF ACTION




                         Piain.ti'ffincorporatesall 't'a.ctual
                                                            alle.gationsmade @5)sie,

                         M'r.    Roosa      is liable        to I)lainfiff         for    his    i'ient                  acts   and/or       cmiissions        and




                                      driverfaiigue,incompe                    lorinattention;
                                                                      ('X
                                      violatingTx=x.Tx4,(                          §545.4(')1.bydrivi.rigix'iarecklessmanner;and




                                                    Q
risetothelevelof'grossnegli                          eand/ormalice.                Mr.Rciosa'sactsand/oromissions,i';4hen'viewed




ofrisk,corisideriy.igBhA-babilit'and.n'iagnitudeofharmioothers.
                                                     Mr.RoosaliadactitaI,subjective

 awarenessof th@                     involved.,but neveithelessproceededwith co.i':isciousindifferencet.othe rights,

 safety', or              e of others.

B.           NEGLj[GENCE,                  NEGLNGENCE                       PER          SE,    AND             G)1'l08S         NEGL[GENCE                    O'.F
             NOR"I'HWEST                 LOG)S'nCS             HE',AVY         HAUL


             12.         Plaintiff     incorporates       all factual        allegations        m.ade above.




 'PL.'UhNTIFF'S          ORIGINAL           PETNTNON-            page3
 2004U'2.1
           Case 4:21-cv-00366 Document 1-2 Filed on 02/03/21 in TXSD Page 5 of 51



             13.          Noithwe.st      Logistics        *as      negligent       by virtue        of   certain.    acts   and/or    omissions,


including,         but not liinited      to:


                         a.         failing to institut.eproper arid effec.tive safety liolicies, proeediires, and
                                    progratns         for screening,        training,     and supervision;




                          C.

                                    not reasonabIycompetentand entrustingits vehicle t4iffl

                                    retaining
                                          control
                                              oversafety
                                                      and[airin.g
                                                              tcireasof-exercise
                                                                            that
                                                                               control
                          e.
                          e.        failing      to prov.ide.reaso.nable            and c.ompetent                   ision., and


                          f.        other acts and omissions                 to lie proven      at


             14.          Uponii'iformatioiiandbelief';,atth.etimeof$"?!'ollision,&ir.Roosawa.semployed
                                                                                        <q=
by, in the fiutherai'iceof the businessot7aiid7ortbe stat;$i                                  employeeof NorthwestLogistics. Mr.

Roosawasalsoundertl'ieoperatiiigaiidlogoatitho'NorthwestLogistics.                                                        Therefore,Noithwest
                                                                                J
I,ogistics         is liable   for damages           cai'ised by                5sa's riegLigence         under    the doctrine    of res)x>ndeat


slqyer   yor.


             15.          Eachoftheabove-l'                          axid/oromis!'ions,takeiisingrularlyoriiiaixycombination


rise to the level of gross neglige                    Q'nd/ormalice.            Noithwest       Logistics'        ac.ts arrd/cir cimissions,   wlien


viewed cibjectivelyfrom t231dpoint                            ofthe.actoratthe time of its occurrence,involved an extreme.

 iegreeofrisk,consid-theprobabi.lityand'rriagnitudecifharmtooi:hers.                                                  N'orthwestI,ogistic.shad


actual, subjectiy4iareness                        of the ri.sk i'rrvolved, but rieverthelessproceedet'lwith consciot:is

indifferenc                    rights,   safety, or welfare          of others.


                                               VIL        C-AUSATJ:ON               AND    DAMAGES


             16.          P)aiy.iti.f.f incorporates        ail fact.ual allegations          ntacle at'>ove.


             17.           Asaproxin'iateresultof'Defendants'negiigentactsand/orot.ni.ssion.s,Plaintiffhas




PLA[NTrFF'8                0!J'GTNAL           PETI.'.l.!t.ON-     liage4
20041/2. 1.
            Case 4:21-cv-00366 Document 1-2 Filed on 02/03/21 in TXSD Page 6 of 51



suffered     i'r.i the past and will         ccn'iLinue to suffer ixi the future:             medical         expenses; loss of earning


capaci5';      LOGSofownhouseholdservices;                    pain and su-ffering; m.ental anguish; ph.ysical impaimient;

emotiongil        d'istress; disfiguren'ient;       ai'id loss of enjoyment          of life.


            :U,        Pt'irsuaiit     to Rule     47(cl      of the Texas        Rules   of Civil           I)rocedure,       Plaintiff     seeks


r:r.ionet.ary relief in excess of $1,000,000.


                                            VN.NN. ALTERNATNVE                    PLEADNNGS



            19. ".l'o
                    theexteii:t
                           f'a.cts
                                ancl/or
                                    causes
                                        ofaction
                                               pledinthiPginalPetition
                                                                    arein
ccnflict,    they' are pled in the alternative.




            20.        I)laintiff      demands      a trial    by jury       on all oflainu,                  'aie jury      fee having       been


deposited         with 'the Clerk of the Corut.


                                                   X.         RULE       A'OT[C.
            21.         1)ursuanttoRulel93.7of4sRitlesofCivil})rocedure,P)aintiffherebygives

notice that il d.ocumentsliroducetl by                        pQ'ndants
                                                                      in respciiaseto any discovery requestmay be

usedai any pret'rialIiroceedingor ,i!"?rial of this matter

                                                        PRESERVJNG                EV[DENCE




any claim or defense rt-ed                  'to the }nciderit    made the basis of this ]awsui( or the darnages resulting


tl'ierefrom.        Faii        Qmaintain         sucli evidence      will    constitute "spoLiation"            of the evidence.


                                            XIL       i0'[TEST           FOR DNSCLOStTRE

            23.            Plaintiff   request     that eacii Defendarit           provi.de     Plainf'iff      wif.h th.e irifcirntation        Or


'tnaterial described            in Rule 194.2(a)-(1)          of tlie Texas Rules of Civil            Procedure           at tl'ie offices   of the


'imclersigned        counsel within         50 days of service of this doctiii"ient.




PLAJN T![FF'8              0RTGmAL          PETNTTON-         page5
20041/2.1
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                                              XNII.      PRAYER


      24.     Plaintiff    prays that judg-rnent      be et.itered against   Defendants.for:


                          a.      acU'ial compensatory-       damages;


                          b.      all costs of court expended         herein;


                                  'pre-judgtneritand post-judgment iyiterest at the 41u'im




                                  all othe'r relief   to which   Plaintiff      is jus     fflled.




                                    Q




PLAINTTFF'S    ORTGn%TAL PETNTNON-              page6
20041/2.1
          Case 4:21-cv-00366 Document 1-2 Filed on 02/03/21 in TXSD Page 8 of 51



I)ated:    I)eee'tuber    21, 2020
           }T.ouston,    Texas


                                                      Respectfii:lly     subinitted,


                                                      Q.oxbi,os        LAW   Frp;hq. PLLC




I)LAJNTNFF'S       ORJ.&JN.i'U,      PET'[TNON-   page7
2004'l/2.1
           Case 4:21-cv-00366 Document 1-2 Filed on 02/03/21 in TXSD   Page
                                                                   Marilyn   9 of 51- District
                                                                           Burgess                                                             Clerk
                                                                                                                    Harris County
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                                         2020-81959                          / Court:          165                  By: BARRETT, BERNITTA L
                                                                                                                    Filed: 12/21/2020 3:53:07 PM
                                                               NO.


                                                                                                   IN THE          DISTRICT       COURT




                                                                                                   i-IARRIS        C'..OUN"]'Y.   TEXAS


 NICK          ROOSA       ANI)     NORTHWIESII'
 LOGISTIC.S            }IEAVY        HA?JL,


                Defei'idants.




To:            Northwest'.t,ogisticsHeasryHaul,byandthroughtheTelecrctaryofState,at2900W
               Rer.io Avenue,       O'.klahoma     C,ity, 0klahorna          73 R)7.


               NickRoosa, byan.d t!'uough
                                        theC.ha.irofthea.l'e+'o: sportati.on
                                                                           Ccimtniss.ion.
                                                                                     at9540
               S%725- Street,OklaliomaCity, Oklalioma75'l'R'lr whereverhe maybefound

               )ursuaiit   tci Rule 197 of the Texas                 Rule         .ii Procedure,    Plai.i'xtiff    serves the following


FirstSetofInteirogatoriestoonNorthwestI,o§sHeai">'.Hau).andNickRoo.sa.                                                    De.fendan.tsare




tiridersigned         attotiieys,    counse!     'aint.iff;,            o.n or before fifty (50) days froin the date of service

hereof.


                                      CJ




PI,AJNTiFF'S           FIRST SET OF INTERROGATORIES                          TO DEFENDANTS-.Pagel
20041!'2.4.3
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                                    DEFTN].T[ONS

As used herein, the fol}ciwing   terins shall have the meanings   indicated   below:




 4.




 6.




 7.




 9,
          Case 4:21-cv-00366 Document 1-2 Filed on 02/03/21 in TXSD Page 11 of 51



discussed    eitlier    iii   wliole   or in part.


          13.          "Records        of Duty        Status"    refers t.o records         maintainecf           by Ncirthwest     Logistics        tl'iat


include    the date, driver's          natne,      duty status, elected cycle,              hours whe.n duty status begins                  arid erids,




                       b.          %"hen used in reference                  'tci a public
                                   entity,   partnership         or association,            a
                                   to st.ate its full      name,      present      or
                                   address       aiid teleplione       n'imtber
                                   arid telephone         nrimber.
                                                                              4
                       c.          '%'ben ttsed in                                                  "ident.ify"       or "identification"         shall
                                   include      a staten'ient                   I)owing:


                                                 i. thetitle&'diiig,
                                                                  circaption,if any,of su* docum.ent;
                                                ii.   $Jtifying               riutnber(,s),letter(s), or combi.nationthereof, if
                                                                and   the     significance           or    'rneaning      of   such     number(sl)


                                                      11nd-erstanding        of 'the document              azid evaluation        of ai'iy claim         of
                                                      pro(-ecticm     trom     d.iscovery


                                       CJ"i.ii.       thedateappeariyigonsuchdocument;ifnodatea:ppea:rsthere.on

                               o   (@>                'theanswer
                                                               shaIisostaterindshallgivethedateor approxirnate
                                                      date on ivhicl'i       sucl'i document          was prepared;


                                             iv.      tbe number       of pages ancl the general                  nature c'>fdescription        of sucii



                                                      document        to be precisely           identified.;


                                                v.    thenam.eandcapacityoftliepersonwhosignedsuc.hclocurnent;
                                                      if it is i'iot signed,       tlie answer            shall    so state and slialI        give     the
                                                      nameof t}.ieperso'riol' iiersonswho prepa:red
                                                                                                  it;



PLA[NTIFF'S        Fl'RST SET OF IN TERROC-ATORIES                            TO DEF.ENDAN TS- Page3
20041/2.4.3
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                           vi.     fhe name. and c.apacity        of the person    to wbani    sueh dcic.ument
                                   was addressedand tlte nan'ieand caliacity of sucli person, other
                                   tban siieh ad(iressee,to whom such document.o'r coliy thet.aeof
                                   was sent; and,


                          stii.    the   pl'iysical   location.   of the   dcicument.   and   the   riame   of   its
                                   custcidian(s).


              d.



                              i,   type of event;

                            ii.    date of tl'ie evei'xt:


                           iii.    precise    location   of the event;


                           iv.     cause of the event (if knoisrnd


                             v. result of the event in ty4"ao-f
                                                             damagesand/or it'terruption of
                                operations.           Q




PLAINTIFF'S   FIRST SET OF 'INTERROG,AiTORNES            TO.DEFFj%'DANTS-       Page4
2004172.4.3
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            PLANNTNFF'S              FNRST BE')'. OF J'.NTERROGATORIES                                      TO tFlFENDANT8



NNTERROGATORY                      NO.      .N.:


                     Please        iderrtify        eacli     persoi"i    aiiswering          tl'icse      iriterrogatories        or     supplying


inforination
 inforination     in ar.'iswer'ing these int.errogatories.


ANSWER:



INTERROGATORY
 fNTERROGATORY                 N0. 2:
                               N0. 2:


                      Have yori been proper!y                 named. and served as a           Defei':yQX-Ifnot,
                                                                                                              please                    describe    axx


defect
rlefect in. servi.ce or inthe        ytarn.e used.


ANSWER:



NNTERROGATORY
INTERROGATORY                   N0.
                                N0.3: 3:


                      Please identify          eacli person. yc'u                all to testify         at trial.   TEX. R.. (-.:I'[V.P. 192.3(d)


ANSWER:



n%TTERROGATORY                     NO. 4s


                      Fo't   each      consu.lQ             expeit   whose       mental        in'ipressio.ns         or   opinions       Ib.ave been


reii.ewed       by a testifaying               p    please     provide:


                      (J.)     4G!uo'nsultirig,
                                       expert's nan'ie,address,and telephonenumber;



                      g         oliiiiions formector made in connectionwitli tl'ffs case,regardlessof when
                               aitd how the fac.tual i.nformation                    was acquired;


                      (3)       a description               of the consultirtg       expert's       mental          impressions         and opinions
                                forn'ied           or made      in connection          with     tl'iis case, and aiiy           metliods      used to
                                   derive      th.err:i; and,


                      {4)       a descriptioxi          of any bias of the consttIlting                  expe.it.



 PLA}NTiFF'S         FIRST SET O.F INTE.RROGATORNE8                         TO DEFENDAN'TS-                    i)age5
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         Case 4:21-cv-00366 Document 1-2 Filed on 02/03/21 in TXSD Page 14 of 51



TEX, R, CIV. P. 192.3(e).


ANSWER:



NNTEIIOGATORY                 N0.   5:




detail what you claim        or contei'id    caused or eontributed    to the J.ncident, i'ncludirypten'i.ent    of the


facts or information    upon s'vhic.h you base your contentions)




NNTERROGATORY                 N'O. 6:


                   Statewbether Mr. Roosaconsum.eaai'iy alt44c                       beverage(s)cir rook.any illegal

drug(s) or prescription medication(s:).inthe 24,bout A"prior                        to the Incident, and identify the

beverage(s.),
           iliegal dn'ig(s),or prescrilition mea                      (s), tii'ne of consun'iption,ai'noui'it,ai'id if a

prescription    medication     was taken, identify      tly'cribing       doctor   and the prescriptio.n.


ANSWER:
ANSWER.



NNTERROGATORY                 N0,    7
                                             Q
                   Ifyou     damages
                       contend',4e made
                                     thebasis
                                          ofthis
                                               lawsuit
                                                  weretl'ie
                                                          resu.tt
                                                             oft'he
negligei:'tacts or ornissiJ omeonebesidesyou, pl.ease.
                                                    identify that persorxor entity and state

wi't:tispec.'ificityeach6very               i'i.egligentact or omissio'nyou contendcausedtlie dantages.




NNTERRA-ORYN0,8:
                   }:lasMr. Roosaeveriieen arrestedor convic'tedof a criine'? '.lf so,l':ileasestate:

                   a.   tlieprecisenaturecrffheoftenseorcharges;


                   b.   the dat.e of the offense      or charges;



PL,AINTfFF'S      FT.RST SET OF N.NTERROGATORIES                  TO DEFENDANTS-Page6
 20041i"2y4.3
          Case 4:21-cv-00366 Document 1-2 Filed on 02/03/21 in TXSD Page 15 of 51



                      c,   'the location   of the offense;   and,


                      (1. ifapplicabie,thecauser.iu'rnberandcouiatyvv1;ieretheconviction'tookplace.


ANSWER:



INTERROGATORY                   NO. 9:


                       f Mr. 'Roosa'*as acti.ngwitbin.fhe coursean.dscopeof his eniplol                      yvi.th,or a,san

agentfor, any person or ei'itity atthe time of the.1ncide.nt,
                                                           pleaseid.entify.hi.s.@goyer oy.a
                                                                                         ptinci.pal.




INTERROGATORY                   N0. 10:


                      Pleaseictentify the owner cif the Tractor 'I'railq'!41ie time of the J.ricident

ANSWER:




Logistics.


ANS%VER:

                                            Q
INTERROGATORY                    NO


                      Please i             whose   autl'icuit.y AIr, Roosa    svas opera'ti.ng   under   at the fime   of the


Inciden.tfor the purd@, o.fthe 'United StatesI)eparttnent of Trai'isportationand the Federal hiotor

Carrier      Safety


ANSWERXe




PLA![N'Jl')[FF'S FTRST SET OF r.NTERROGATORIES                      TO DEFENDANTS-Page7
2004]./2.4.3
         Case 4:21-cv-00366 Document 1-2 Filed on 02/03/21 in TXSD Page 16 of 51



Dated:         December    21, 2020
               Houston,   Texas


                                                  Respectfully   submitted,


                                                  CEDTLLOS I,hv    Fiaxi,     PLLC




                                                      State Bar No. 24080828




                                                      A'I"TORNER               PLA'.!N'I'IFF




PLAJNTIF.F'S       F!t.RST SET O.F INTERROGATOR'[ES    TO DEFENDANTS-.Page8
20041./2.4.3
         Case 4:21-cv-00366 Document 1-2 Filed on 02/03/21 in TXSDMarilyn
                                                                     PageBurgess
                                                                           17 of 51
                                                                                  - District                             Clerk
                                                                                              Harris County
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                                                                                              Filed: 12/21/2020 3:53:07 PM
                                               N'O.


 CHAN      TN'rT-IAVC)NG,                                                      IN THE        DIS'I"RICT   COTJRT


          'P)aintift,


                                                                               HARRIS        CO[jNl:'Y,   TEXAS


'h'ICK    'ROC)SA       AND   N(:)R-J'HWIEST
 I,OG:I:STICS      HEAVY      HAUL,                                                             ,,@
           Defenr.iarrts.




          Nick Roosa,by and l'hroughthe Chair of fl'ie TeB@,*(@'spoita:ticu'i
                                                                         (:ommission, at 9540
          SW'25fhStreet,Oklahoma City, Oklahoma7511       wliereverhe 'inaybe fouiid.

          )ursuaiyt to Rile     196 of the Texas Rules ql        'Proced'i.'ire, Plaintiff    serves the following


FirstRequestforProdt'ictiononNorthwestL                     sHeav7HaulaxidNickRoosa,and.requestthat




                                          Q




'PLAffiJ'lFF'S     Ti'IRST [(EOI)ESI'   FOR PRODUC.TION     TO DEFENDANTS        - Page l
20041 /2.4.2
         Case 4:21-cv-00366 Document 1-2 Filed on 02/03/21 in TXSD Page 18 of 51



                                             .U%ISTRUCTIONS

              1.    Defendants must either produce the requested documents and tatigible         things    as


'ffiey are kept in the uguai course of business or organize and lnbel them io c.orrespond with tl'ie

eategorie.s in the reqxiest.

              ')
              2.    In the event.
                               that a docurnenl:ctilled fiir by thesereques'tshas be48stroyed, tbe

response
      heretos}ial.lidentifyl].'ielirepa:rerof tlie document,its addreisser,
                                                                         add,ie,            eacb.recipient

theteof,eachperson
                 to whomdistributedor slioi'vn,datelirepared,datgJ%*mitted (if different)
date rcc.eived,a description of the contents and subject n':iatter,            tc of its destruction.,    the


mannerof its destruction,the name,title, anti addressof person8           a.ut}iorized its destruction, the

reason for its dest.ructiot:i,the name, title arid address of   the'&(mO'n
                                                                       destroyiyig the document and         a


descriptioriof effi.>rtst.olocatethe documentandcopd      <




              3.    The requestsfor documentssetfo4!&4ow shail be deen'iedto lie contiituingso as



       the time of respondingto this rHh'st andthe.tinaldispositirmof tiiis action.
betxveen



                    As used herein,   Q'lloiying   terms siiali have the meanings indicated below:




              2.    "     lff"   or"A'lr. Inthavoxig"siiall meanChaii Inthavong.

               3.   pr,   Roosa."shall mean 'Nick Roosa, driver of the tractor trailer invo].ved     in the

 [ncident.


               4.   "Northwest :Logistics"sl"iallmean Nortliwest Logisfics Heavy Haul, and all agents,

 representatxvesand other persons acting on. behalf of the foregoing.

               5.   "Defendaxtts='shall mea:n Noithwest L.ogistics and Mr. 'Roosa, c.ollectively and

.PLA{NTTFF'S F)[RST REQUEST FOR PRODUCTION              TO DEFENDANTS -     Page2
200411/2.42
          Case 4:21-cv-00366 Document 1-2 Filed on 02/03/21 in TXSD Page 19 of 51



 individually


            6.     "You"or"your"shalirefertoeachrespectivepa'itytowbcmithisrequestisdirectecl,


and each sucli pmty's            agents, servaiits, representatives           ai'id persons acting ontheir        belxalf


            7.           l"ra.ctorTrailer" shffll meanthe trac(cirt'railerc'lrivenby Mr, Roosaat tl'4e €irrie cif the

lncident.


            8.


                         Incident" shall 'refer to t.heiiicid.enton or about July                [5!9'ol!),
                                                                                                         w}ien the Trac.tor

Trailer struck the Clierty           Picker, wI'iile PIaintiff   was located on top o            pCherryPicker.

                    "Ai'id"       or"or" sliall be construedcon,junctivelyo;d4mctively asnecessaryto make

the requests for productio.n irx'tusive             ratlier than exclusive.


                         R.eferring,to" "<relatingto" gr"concerd                  meansto consi.stof'; refer to, arise from,

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            12.         "Document(s)"isusediri:'Mroadestsenseandshallinehidealltangibleitetnsofany
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meetingsat'idco,I@dces, summariesor other'recordsof negotiation,diaries,di.ariti.tems,calendars

appointme i                 S,   time records,visitor records, forecasts,stal'isticaldata, statistical staten'iexts,

financ.ial sta-te'inents. worlc sheets, work papers, drafs,                   graphs, niaps, charts, appraisals,            b.rochures,


.painphlets, circulars, trade letters, pressreleases,              notes,, marginal    notations, telephone bills or records,


bills,      statements,      reccirds    of    obligation    and. expenditure,       invoices,    lists, jot'i.'a).s,   advertising,




 PLAINTIFF'S        FiRST RE,0U'EST FOR.PRODUCTTON                     TO DEFENDANTS - Page3
 200=41/2.4.2.
        Case 4:21-cv-00366 Document 1-2 Filed on 02/03/21 in TXSD Page 20 of 51



reconwnenda:hons,:files,          prii'itouts,     compilations, tabulations,           purchase       orders,    receipts,    orders,


confirmations,       meeting's,   checks,        cmiceled   cliecks,   letters   of credit,   enveIopes,         folders   or similar


container's,     vouc.hers,   ai'xalyses, surveys,      transcripts    of lieariiigs,    transcripts      of testimony,       expense


reports, inic.rcifilm, micro:t:iche,articles, speeches,tape or disk recordings, voice recordings, iri.deo

reeoriis, film, tape, punch cards, progran'is,and data eo.ipatat'icinsi'rom 'whicl'i i4@jJation can be




computer,althoughnotyetpr.intedoutwithinthepossession,custod                                           ntrolofDefendants,their


agents, representat.ives      or attorneys.




PLAINTIFF'S         F.IRST REQUEST         'FOR PRODUCTION             TO DEFEF%"DANTS- Page4
20041!2.4.2
       Case 4:21-cv-00366 Document 1-2 Filed on 02/03/21 in TXSD Page 21 of 51



         PLAJNTNFF'S FJ:RSTREQUEST FOR N)RODUCTJO'N TO D.EFEl%tpANTS


BEQ'[JN!STFOR PRO}JUCTTON N0. 1:

                 All doc.umeiitstliat co'ntaininforniation from persons with knowledge of relevant

f'actsrela.tingto rheIncidentandtheinjuriescausedihereby, inctudingbtrt nci't 14to                 ivritten

or recorded statements.

RESPONSE:



                                                                                    Q
                 All lihotograpl'is,videos,sketchesarid dravvingsoJ%-!'TractorTrailer, J.'laintiff,the

C.l'ierry
        Picker,'tlieIncidentor thesceneof the.[neid.ent
                                                     at tJ4&: of theIncidentor subsequenttO
'the Incident.

RESPONS.E:




                 A]lmetadcrta.
                         forallpholt"Nphs
                                       and
                                         videos
                                             oftl'ieIncident.
RJUSPONSE:
                                          Q

                 All em 19              n"ianuals,
                                                handbooks,
                                                        lxjlicies and lirocedure.s in aixyway relatixig or

ref.erring
         to vebicleliver            safety,hiting,qualifyingax'idretaining
                                                                        driversofNoithwesi Logistics
veItiiclesutilize,        Noitl:iwest    Logistics   at the time of the Incident.

    suyohd

i0UF,8Tlt'ORPROD'UC'llON                      NO. S:

                 All coni'racts, subcontracts or writt.en a.greementsbetween Mr.               Roosa   and

Northwest    Logistics.

PL.AJNTTFF'S FukSTREOUEST.FOR PROD-(7€:TTO.NTO DEFENI)ANTS-I)age5
2004U'2.4.2
           Case 4:21-cv-00366 Document 1-2 Filed on 02/03/21 in TXSD Page 22 of 51



RE8PONSE:



REQNJEST         .FOR       PRODUC'nON                 NO.    6:


                    All     of Mr. Roosa's          application(s)        for en':iployment         with    Northwest         Logistics.


RESPONSE:



REQUEST          FOR        PRODUCTNON                 N0.    7:


                    All ivritten correspondence,memoranda, notes or o$@,ritings                                                     reirencing

directly    or indirectly       the employment             of Mr,     Roosa,     or ihe use or oQYon                  by Mr.      Roosa    of any


vehicle    owtaied by Ncirtliwest.           Lcigistics.


RESPONSE:




                     All     documents          required in          qualj4pj        h'Xx.Roosa as a driver of a Northw'est

'lLogist.ics vehicle,       irxclt:iding,   b'i.it not lin'iite


                     a.           al.l respo.t':ises of              agencies      to inquiries      concerning         Mr.     Roosaos
                                  T)rlOr    (lriving




                     c.           e              ai'uai'i'ial review(s)    of Mr, Rocisa's          driving    record




                              oldinances            (requi:i-ed     at ti:ineofl'ffre aiid annually thereafter)

                                   Mr. Roosa's         road test (or eqriivaIent)


                                   Mr. Roosa's         written      examinatiori      (.'c>requivalen.t);      and,


                     g.            Mr. Roosa's         pliysi.cal    e.xamination       (long     form),    including         controlled
                                   substance      testing     resrilts-


RESPONSE:




'PLAINTI.FF'S      FTRST REOU.EST.FOR                  PRODI)CTNON              TO DEFENDANTS-              Page 6
20041/2.4.2
       Case 4:21-cv-00366 Document 1-2 Filed on 02/03/21 in TXSD Page 23 of 51



REQUEST       FOR PRODUC'N'.'[ON N0. 9:

                 Documentation      of all of Mr.      '.Roosa's control].ed substance tests, inc.]uding

pre-e'tnployment, random, anti I:+ost-col.lision testiiig while employed by Northwest Logistics.

RESPONSE:


REQUEST       FORPRODUCTION              N0. 10:

                 All   documents relating or referring to k'[r. Roosa's abilm                   drive a    c.ompany


vehiclesafety,incl'icling,but not Iimitedto, letter5of ivarningandrec4                    3f disciplinaryactic'ins,
iric?iiding, but not lin'iited to tliose peitaining to this Ccdlision.

RESPONSE.:
RR8PON8E:




                 A.ll documents relating or refet               Mr, Roosa's driving            training    or   safety


prcigramswhi.leemployedby 'Nattl'iwest14@s,                  including b'i.it not ]imii.ed to siBn-in s'heets

'pertaining to Mr. Roosa's attendance at dr          safeiy me.etiii.gs aiid driver traini.ng     progran'is.


RESPONSE:


REQUEST       FOR      PRODUCTJ."N0.
                                 12:

                 All t'lota @"%e'f:lec.fing
                                          yciur.instructions
                                                           'to operatorsof Ncit}iwest I.,ogistics

vehiclesconceri'iing tirovisions        of motor vehicle traffic laws and ordinaixces at the time of the

                    o={
Collision.

:RF,SPONSE


REQUEST       FOR PRODUCTTON             N0. 23:

                 All   records pertaining to or relating or referring to        ai'iy   collisions or   accid.ents    in


whicli My, Roosa was invoived while employed )iy 'North'west             Logisfics.




PLAINT'l'FF'S FIRST REQUEST FOR PRODUCTION TO DEFE'%'DANTS
                                                         - Pace7
20041/2.4.2
        Case 4:21-cv-00366 Document 1-2 Filed on 02/03/21 in TXSD Page 24 of 51



RESPONSE:



REQUEST           FORPRODUCTION                 N0. 14:


                    All Iease or ovviiersliip     ag'reement(s)   pertaii'iing   to tbe Tractor "J'railer at the time of

the
the Inciderit..
    Inciderit.


RESPONSE:



REQUEST           FOR    PRODUCTJON             NO. 15:
                                                N0. I




insurancecon'ipariyor otherperson,firm or corlioration to proilany                           it':ivestigative servicesor

ctefensef-.cir
            NciithwestLogisticsor niay be obligatedto pay dortion                          of any,iudgmenttl'iatmay

berenderedagainstNorthwestLogistics.
be rendered against Northwest Logistics.                               =

RESPONSE:




                    All docurnents              ini   e   the insurancec.overageapplicabl.eto tbe Tractor



of the Collision.
                                         Q
RESPONSE:




                        P'l

                        eocinients
                                 liertaining, relaiing or referring to repoiting or iiivestigating the

I'qcident,%'%'aix'igbut.riot limit.edto ai:iy companyaccidentinvestigation/incidentrepcirt.

RESPONSE:




PJ.,AINTIFF'S FIRST REOUF,ST FOR PRODUCTIQN                       'J'O D:E',FENDANTS-Page 8
20041!2.4.2
           Case 4:21-cv-00366 Document 1-2 Filed on 02/03/21 in TXSD Page 25 of 51



REQ[TEST FOR PRODUCTI:ON N0. 18:

                    A].l docusent(s) pettain.ing to reviews of Mr. Roosa's employment anci driving

'history   since being    employed       wiih   you,


RESPONSE:



REOUE.ST NOR PROD'[JCTnON N0. 19:

                      'he titleto th.el'rac.tor a.rrail.erMr. Roosa was driving on %(                   of the Ine.ider.rt.




REQ[JEST         FOR     PRODUCTNON               N0.       20:


                    A copy front and back of Mr. Roosaasdriver@'!nse.

RESPONSE:




RESPONSE:




                    Allreservatio4rights                letters.

RES.PONSE:



     @obsr:tro@.i.tytrcrxowso.                              23:


                           octunents      you    have subpoe'i'iaed   or otherwise   received   frotn    ariy third   party


during     or in connecti.or.i   with   tl.iis la-vysuit.



RESPONSE:




PLAmTNFF'S         :ffla"[RSTRE)QUEST FOR PRODUCTION               TO D.E.FENDAiNTSl- Page9
2004 ]/2.4.2
        Case 4:21-cv-00366 Document 1-2 Filed on 02/03/21 in TXSD Page 26 of 51



RF,QUEST       FOR   PROJ)UCTION       N0.   24:



                Ail docunents obtainedby >iori pursuai'i't to a deposit'ionby mitten questicms,

RF,SPONSE:




PLAJ'NTiFF'8    FIRST REQUEST      FOR PROD[iCT.{ON   TO DEFENI)ANTS-   Page 10
20041/2.4..2
         Case 4:21-cv-00366 Document 1-2 Filed on 02/03/21 in TXSD Page 27 of 51



Dnted:          December     21, 2020
                Housto.n,   T.exa.s


                                                 Resliectfully submitt.ed,

                                                 Centi,t,os   I..h.wi.Faxi,    Pl.,'I,C




                                                      S       Bar No. 24080828
                                                      3801 Kirby      Dr., Suite 51
                                                      Houston.    Texas       77098       ';




 .PLAINTTFF'S         FTRST RE0U-EST 'FOR PRODUCT'[O'N    TO DEFENDANTS-Page                   11
 20041/'2.4.2
                                                                                                                                       J &l   l-   jl   &ll&   V   17 -%l $8   s   lj   I   r   jfi

                   Case 4:21-cv-00366 Document 1-2 Filed on 02/03/21 in TXSDMarilyn
                                                                                PageBurgess
                                                                                      28 of 51
                                                                                             - District                                                                                               Clerk
                                                                                                                                   Harris   County
                                                             CIVIL     PROCESS             REQUEST                                 Envelope     No:                      49144641
                                                                                                                                      . BARRETT                            BERNITTA                    L


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CAiSF.NTTMBRRa                                                               (.:URmiaitUUKli
                                                                                  Plaintiffs     Original    Petition,   Plaintiff's          First Request for Production                            to
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FILE    DATE    OFMOTION:                                                          12                                    7.07.0
                                                                                  Month/                                 Year

SERVICE        TO BE ISSUED       ON (Please ListExacfly        As The Name      Appears       In The Pleading       To Be Served);

1.     NAME:       NickRoosa                                                                                                                  N

       ADDRESS,       9540 SW25th Street, 01clahomaCity, Oklahoma 75128

       AGENT, (ifapplicable):
TYPE OF SF.RVT('F./PRn('F.SS
                           TO BE ISSUED(seermerse
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                 @tI-HB,,explain         Please
                                              emailcitationto theattorney@Noises@cedilloslaw.com




z.     NAME:      Northwest
                         Logistics
                                 HeavyHaul
       ADDRESS,          2900 W Reno Avenue

       AGENT, (yappllca51e); 01dahomaCity, Ova                             73107

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ANT0msji:V       (QRAlT'ORNF,Y'SAUffi'l)REQUESINU-SKRVICE:

NAME,          J.MoisesCedillos                                                     TEXASBARNO.a)N0.                              24080828

MAILmGADDRESS:                  3801KirbyDr.,Suite510,Houston,Texas77098
PHONENUMBER:                832                       9oO-9456                              FAXNUMBER:                    832                           900-9456
                              areacode                      phone number                                                 areacode                              fax number

EMAIl     ADDRESS:              moises@cedilloslaw.com



                                                                             Page 1 of 2
                                   Case 4:21-cv-00366 Document 1-2 Filed on 02/03/21 in TXSD Page 29 of 51
                                                                                                        CAUSE       NO.      202081959
COPY         OE'        PLEADING                PROVIDED                      BY      PLT


                                                                                                                                                        RECEIPT        No.          922831                TR#           73825117
                                                                                                                                                                                                                                     EML

Plaintiff                :                                                                                                                          In       The    165th
INTHAVONG,                   CHAN                                                                                                                   Judicial           District                   Court            of
VS.                                                                                                                                                 Harris          County,            Texas
Defendant                :                                                                                                                          201        CAROLINE
ROOSA,           NICK                                                                                                                               Houston,            Texas
                                                                                         CITATION               (NON-RESIDENT              CORPORATE)
THE         STATE            OF       TEXAS
County             of        Harris


To:              NORTHWEST                     LOGISTICS                      HEAVY            HAUL
2900         W RENO                AVENUE
OKLAHOMA                 CI TY         OK       7310         7,


                 Attached                 is         a   copy             of:         PLAINTIFF'S                                                                              FIRST           REQUEST                   FOR
PRODUCTION                       TO    DEFENDANTS                         AND         PLAINTIFF'S                                                                            TO      DEFENDANTS


This         instrument                        was       filed                on     December               21,     2020       in   the                                                              and           court.
The         instrument                    attached                      describes                 the       claim         against         you.


                 YOU         HAVE         BEEN              SUED.                  You      may         employ                                                                                                do        not        file
a      written                   answer              with               the         District               Clerk                                                                                          a.m.                on     the
Monday             next            following                      the         expiration                  date                                                                                            citation                   and
petition,                    a     default               judgment                    may        be      taken


TO      OFFICER                  SERVING:


                                                                                                                                            under   my     hand       and      seal          of      said            court.



                                                                                                                                                         'f)'14 Lt-
Issued             at        the       request                    of:                                                                                    Marilyn            Burgess,               District                    Clerk

                                                                                                                                                         Harris        County,               Texas
                                                                                                                                                         201       CAROLINE,                Houston,                 TX        77002
                                                                                                                                                          (PO        Box            4651,              Houston,                           TX
                                                                                                                                                         77210)


                                                                                                                                                        Generated             By:      BERNITTA                    BARREIT
                                    Case 4:21-cv-00366 Document 1-2 Filed on 02/03/21 in TXSD Page 30 of 51




                                                                                                                                                                                 Tracking             Number:            73825117
                                                                                                                                                                                                                                    EML




                                                                                          CAUSE               NUMBER:        202081959



PLAINTIFF                :      INTHAVONG,                  CHAN                                                                                       In      '              165th




DEFENDANT:
       ROOSA,
           NICK                                                                                                                                       @5rrris County,Texas


                                                                             OFFICER              -         AUTHORIZED            EN                RETURN


Came          to        hand             at                        o'clock                              M.         on   the,dC%                        day           of
20                       Executed                      at




                                                             County                 at                o'k                                      M.       On                 the                                           day             of
                                                                     20,                  by


Delivering                          to                                                    ,<t,C2'(Oz                                                          defendant,                     in        person,             a      true




On        this               day,           %e'                                                                                                                           ,       known          to         me      to     be       the
person              whose                siMure              appears            on the                 foregoing             return,             personally                      appeared.                  After        being           by
me     duly             sworn,                he/she        stated           that         this              citation         was        executed             by           him/her           in        the       exact          manner
recited                 on      the           return


SWORN              TO        AND         SUBSCRIBED             BEFORE              ME,          On         this                       day       of
20




                                                                                                                                             Notary         Public
                     Case 4:21-cv-00366 Document 1-2 Filed on 02/03/21 in TXSD Page 31 of 51
                                                         CAUSE   N0.   202081959


COPY OF PLEADING            PROVIDED BY PLT
                                                                                                            RECEIPT         No: 922831
                                                                                                            TRACKmG           #: 73825116
                                                                                                                                     EML
Plaintiff:    INTHAVONG,            CHAN                                             In The 165th
                                                                                     Judicial    District    Court   of
VS.                                                                                  Harris     County,     Texas
Defendant:         ROOSA,    NICK




THEsTATEOFTEXAs
County       of Harris
                                                   CITATION-NONRESIDENT
                                                                 c4
To:          ROOSA,      NICK
             9540 SW 25TH        STREET
             OKLAHOMA           CITY   OK 75128




DEFENDANTS




        YOU HAVE BEEN SUED. You may emplJ@rl attorney. If you or your attomey do not file a written
answer with the District Clerk who issued this cita4y      10:00 a.m. on the Monday next following the expiration
date of 20 days after you were served this citation4  petition, a default judgment may be taken against you.

This    citation    was issued   on December      23,   2pnder    my hand and seal of said court.



                                                   Q
                                                                                       Marilyn      Burgess,     District    Clerk




Bar Number:         2408
                                                                                              Generated By: BERNITTA            BARRETT
                   Case 4:21-cv-00366 Document 1-2 Filed on 02/03/21 in TXSD Page 32 of 51




                                                                                  Tracking   Number:     73825116
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                                                          CAUSE   NUMBER:   202081959



PLAINTIFF:     INTHAVONG.           CHAN                                                     In the 165th

      yg.                                                                                    JudicialDist6ic@Courtof

DEFENDANT:         ROOSA.    NICK                                                            Harris   Co,       Texas
                                                                                                      ohS'-V



                                            OFFICER       - AUTHORIZED      PERSO


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Delivering    to                                                                           defendant,       in person,    a true copy    of this




To certify   which    I affix   my hand officially        this                    day of
20


Feess                                              Q




                   Affiant                                                                                       Deputy



                                                                                                known       to me to be the person whose




SWORN        TO AND      SUBSCRIBED             BEFORE      ME, On this           day of
20




                                                                                  Notary     Public
        Case 4:21-cv-00366 Document 1-2 Filed on 02/03/21 in TXSD Page 33 of 511/12/2021                                                           4:35 PM
                                                                                                            Marilyn Burgess - District Clerk Harris County
                                                                                                                                 Envelope No. 49642170
                                                                                                                                        By: Joshua Bovell
                                                                                                                                Filed: 1/'12/2021 4:35 PM

                                                  CAUSE     N0.     2020-81959

CHAN     INTHAVONG
PLAINTIFF

VS,                                                                                                 IN THE 165th        District   Court


NICK ROOSA.       ET AL                                                                                     HARRIS      COUNTY,        TX
DEFENDANT




ON Saturday,       January      9, 2021   AT 7:11 AM
TWO COPIES:       CITATION,      PLAINTIFF'S  ORIGINAL            PETITION,      PLAINT[S         FIRST     REQUEST      FOR
PRODUCTION       TO DEFENDANTS,              PLAINTIFF'S    FIRST      SET OF    INTERdATORIES               TO DEFENDANTS,

CHAHUECLK(ATOFoTREEXIAGSNSFEOCRREPTRAORFYITOcFoSRTPAOTMEFTOIORN$)5c5
ON Tuesday,       January     12,     2021     AT 2:30     PM, 1, ADRIDAM,                    PERSONALLY            DELIVERED
THE ABOVE-NAMED     DOCUMENTS    TO: NORTHWEST L4TICS                                      HEA\/Y HAUL (A FOREIGN FOR-
PROFIT CORPORATION)   C/O TEXAS SECRETARY OF ST(CTS, by                               delivering to Web Jeromq 1019
BRAZOS ST AUSTIN.   TRAVIS COUNTY. TX 78701                            A
My name is ADRIANA    ADAM. My address                is 145!!ARRIS         RIDGE BLVD. UNIT A, PFLUGERVILLE,
TX 78660. I am a private process server               certi[        the Texas Judicial Branch Certification
Commission      (PSC 17714,     expires 10/31/20   )Qy e-mail address is info@easy-serve.com.   My date
of birth is 3/30/1992.      I am in all ways comp!$nt to make this statement, and this statement is
based   on personal      knowledge.     I am not a           y to this     case and    have   no interest     in its outcome.      I

declareunderpenaltyof perjurythatth9regoing is trueandcorrect.
Executed     in TRAVIS    COUNTY,      TX osday,             January     12,   2021


/S/   ADRIANA    ADAM                        Q




20041

Doc ID: 278736    1
                                 Case 4:21-cv-00366 Document 1-2 Filed on 02/03/21 in TXSD Page 34 of 51
                                                                                             CAUSE      NO.      202081959
COPY         OF        PLEADING                PROVIDED            BY       PLT


                                                                                                                                                    RECEIPT                 No.         922831                TR#        73825117
                                                                                                                                                                                                                                    EML

Plaintiff               :                                                                                                                         In       The      165th
INTHAVONG,                  CHAN                                                                                                                  Judicial                  Dxstrict                  Court         of
VS.                                                                                                                                               Harris            County,                Texas
Defendant               :                                                                                                                         201           CAROLINE
ROOSA,          NICK                                                                                                                              Houston,                  Texas
                                                                             CITATION              (NON-RESIDENT                     CORPORATE)
THE         STATE           OF       TEXAS
County            of        Harris


To :           NORTHWEST                      LOGISTICS            HEAVY           HAUL       (A     FOREIGN             FOR-PROFIT               CORPORATIOffl%'
2900         W RENO              AVENUE
OKLAHOMACITYOK73107,                                                                                                                                                    "
                                                                                                                                                                       D
               Attached                  is         a   copy     of:        PLAINTIFF'S                ORIGINAL               PETITION            PLAI                      'S     FIRST              REQUEST             FOR
PRODUCTION                    TO      DEFENDANTS                 AND        piuzurzppas                FIRST        SET         OF        :i:u'rgggo6s                            TO     DEFENDANTS
                                                                                                                                                           "r

This         instrument                       was       filed      on       December           2L       2020        in        the         above                 d   cause               number           and        court
The         instrument                   attached               describes              the     claim          against               you




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Monday            next        following                    the expiration   date                        of 20 da                     ler          you           were        served              this          citation              and
petition,                   a default                   judgment   may be taken                         against               ly

               This           citation                  was     issued            on   December           23,             20,        under        my     hand          and         seal          of      said         court




                                                                                                                          o


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                                    Case 4:21-cv-00366 Document 1-2 Filed on 02/03/21 in TXSD Page 35 of 51




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                                                                                        CAUSE               NUMBER:        202081959



PLAINTIFF                :     INTHAVONG,                 CHAN                                                                                         In      '              165th




DEFENDANT:                     ROOSA,            NICK                                                                                                (r3;jprr'xs              County,             Texas




                                                                           OFFICER              -     AUTHORIZED                E           N    RETURN


Came          to        hand           at                        o'clock                             M.         on    the.dC%                          day           of
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                                                           County                  at               o'gk                                    M.          On                the                                           day             of
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Delivering                       to                                                      b!UQ"                                                                defendant,                     in        person,            a      true




To certifywhich
              I                                                            20myhand
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On        this               day,            %e                                                                                                                           ,      known           to         me to   be             the
person              whose             si'ture              appears            on        the          foregoing             return,              personally                      appeared.                   After being                 by
me     duly             sworn,              he/she        stated           that         this               citation        was        executed               by       him/her               in        the       exact         manner
recited                 on     the          return


SWORN              TO        AND       SUBSCRIBED             BEFORE              ME,          On      this                          day        of
20




                                                                                                                                           Notary           Public
         Case 4:21-cv-00366 Document 1-2 Filed on 02/03/21 in TXSD Page 36 of 511/20/202"l                               9:00 AM
                                                                              Marilyn   Burgess   - District Clerk Harris County
                                                                                                        Envelope No. 49846940
                                                                                                               By: Joshua Bovell
                                  CAUSE   N0.   2020-81959                                            Filed: 1/20/2021 9:00 AM

CHAN INTHAVONG,
PLAINTIFF
                                                             IN THE   165TH       DISTRICT         COURT
VS.
                                                                          HARRIS           COUNTY,        TX
NICK ROOSA,            ET AL,
DEFENDANT




Client   Reference#:   20041

DocID:    278735-001
Case 4:21-cv-00366 Document 1-2 Filed on 02/03/21 in TXSD Page 37 of 51


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                      Case 4:21-cv-00366 Document 1-2 Filed on 02/03/21 in TXSD Page 38 of 51
                                                                CAUSE    N0.   202081959


COPY OF PLEADING             PROVIDED        BY PLT
                                                                                                                           RECEIPT       No: 922831
                                                                                                                           TRACKmG#:           73825116
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Plaintiff.    INTHAVONG,              CHAN                                                          In The 165th
                                                                                                    Judicial    District    Court   of
VS.                                                                                                 Harris     County,     Texas
Defendant:       ROOSA,       NICK


                                                           CIT ATION     - NON        RESIDENT
THE      ST ATE       OF TEXAS
County       of Harris


To:          ROOSA,       NICK
             9540 SW 25TH         STREET
             OKLAHOMA            CITY     OK 75128




DEFENDANTS


This    instrument       was ffled    on December          21. 2020. in the abovted          cause number        and court.     The instrument
attached      describes     the claim     against   you.


      YOU HAVE BEEN SUED. You may emplQd@rlattorney. If you or your attorney do not file a written
answerwith the District Clerk who issuedthis cita,iiQy 10:00 a.m. on the Monday next following the expiration
date of 20 days after you were served                 this citation,,     petition,    a default   judgment      may be taken       agairtst   you.


This citation      was issued        on   December       23, 20nder        my hand and seal of said court.



                                                           Q

Issuedattherequestof:                               (@          i,a;'d    L,-'%"i%                    MarilynBurgess,DistrictClerk




Bar Number:          2408
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                       Case 4:21-cv-00366 Document 1-2 Filed on 02/03/21 in TXSD Page 39 of 51




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                                                             CAUSE   NUMBER:   202081959



PLAINTIFF:        INTHAVONG,             CHAN



DEFENDANT:             ROOSA,     NICK                                                           Harris     CgQty,   Texas




Came       to hand at                     o'clock        M. On the
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(Address)

                                                         County
                                                             at o'clof                                M. Onthe                               dayof
Deliveig          to                                                                            defendant,      in person,        a true copy of this




To certify    which       I affix   my hand officially       thiS    Q               day of
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Fees $
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0li ipis day,                       (f,,z"'=!)                                                    ,
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signature appears on  thpegoing return, personally appeared. After                         being by me duly sworn, he/she stated that
this citation was exec4 by him/her in the exact mannerrecited on the return.

SWORN        TO AND             SUBSCRIBED          BEFORE     ME, On this            day of
20




                                                                                     Notary       Public
        Case 4:21-cv-00366 Document 1-2 Filed on 02/03/21 in TXSD Page 40 of 51
                                                                                                                                                                2/1/2021 9:51 AM
                                                                                                                            Marilyn    Burgess     - District Clerk Harris County
                                                                                                                                                         Envelope No. 50212409
                                                                                                                                                                  By: Kevin Childs
                                                                                                                                                         Filed: 2/1/2021 9:51 AM


                                                            CAUSE        N0.         2020-81959


 CHAN          INTHAVONG,                                                                                          IN THE          DISTRICT            COURT


                    Plaintiff,

 VS.                                                                                                               HARRIS           COUNTY,            TEXAS


 NICK             ROOSA               AND           NORTHWEST
 LOGISTICS             HEAVY           HAUL,


                  Defendants.                                                                                     165""     JUDICIAL               DISTRICT


         DEFENDANTS                 NICK       ROOSA           AND       NORTHWEST                 LOGISTICS              HEAVY         HAUL'S
                                                             ORIGINAl                ANSWER


            COME           NOW,       Nick      Roosa         and    Northwest           Concrete        Products,         Inc.,      d/b/a      Northwest


Logistics         Heavy     Haul,     incorrectly         named      herein         as Northwest      Logistics       Heavy         Haul,     Defendants


in the above         entitled       and numbered              cause,     and in answer            to Plaintiffs       Original         Petition,       would


respectfully        show unto this Honorable                    Court    and Jury         as follows:


                                                                               I.


            Defendants herein, pursuant to the provisions of Rule 92 of the Texas Rules of Civil

Procedure,          deny    each and every,           singular       and all, the allegations               contained       in Plaintiff'         s Original


Petition,      and any subsequently               filed     petitions,    and say that the allegations                contained          therein       are not


true,    either    in whole         or in part,     and demand            strict      proof   thereof.       Defendants            further       reserve    the


right to amend their answer at a future date in accordancewith the TexasRules of Civil Procedure.

                                                                               II.


            Pleading       further,      and in the alternative,            and without           waiving     the foregoing,           Defendants           say


that any damages             resulting       to Plaintiff       were proximately              caused     by the Plaintiff             doing      that which


persons     of ordinary         prudence        would       not have done in the exercise                   of ordinary        care under          the same



                                                                               1
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or similar      circumstances,          and/or by his failure          to do that which persons of ordinary                   prudence          would


have done in the exercise of ordinary                        care under the same or similar                  circumstances.         Plaintiff     was


comparatively,          contributorily           and solely responsible             for his injuries/damages.           Such failure            caused


and contributed          to cause all of the injuries                 and damages                alleged   to have been sustained               by the


Plaintiff.


                                                                          In.


             Pleading    fiirther,      and in the alternative,           and without            waiving    the foregoing,     Defendants          say


that any damages            complained            of herein,     were proximately                 caused, producingly         caused or solely


caused, in whole            or in part, by the acts, omissions,                         fault,     negligence,     or other    conduct          of the


Plaintiff     or third    parties       or persons          or entities     over whom             Defendants      have no right         of control


including,      but not limited          to, Plaintiff's       employer,          Exterran        Cotaporation.


                                                                          IV.


             Defendants       specifically           deny     that   they        were    guilty      of any negligence         whatsoever;              if


Defendants        are mistaken           in their allegation         that the Plaintiff            was negligent     as above alleged             then


Defendants        allege that the occurrence                  and alleged         damages in question             were the result of factors


and/or conditions          outside of Defendants'                control.


                                                                            V.


             Pleading     further,      and in the alternative,             if such be necessary             and subject      to the foregoing


pleas and without           waiving        the same, Defendants                  would     show that in the unlikely            event they are


found liable to the Plaintiff,                 any such liability      is expressly          denied and Defendants            say    that they are


entitled     to indemnity,           credit,     offset   and/or     contribution         provided         by the laws and statutes of the


State of Texas including,                but not limited           to, the provisions             of Chapter      32 and Chapter         33 of the



                                                                            2
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TEX. CIV. PRAC. & REM. CODE, as well                           as all other applicable         laws and statutes, and pursuant                     to

common            law.


                                                                      VI.


             For further        answer, if such be necessary,            Defendants         allege as follows:


             a.           Plaintiff      may     not recover     any amount            of damages       if Plaintiff's       percentage            of


responsibility            is greater than 50%, regardless            of the theory         of recoveiy       pled.    Tex. Civ. Prac. &


Rem. Code §33.001.                    Further,   the trier of fact, as to each cause of action asserted, shall determine


the percentage             of responsibilQ          for each claimant,         each defendant,        each settling         party,     and each


responsible          third party.        Tex. Civ. Prac. & Rem. Code §33.003.


             b.           For further      answer, if such be necessary,               Defendants     allege that in accordance                 with


§33.013(c)          of the Tex. Civ. Prac. & Rem. Code, they may not be jointly                                  and severally         liable     for


any amount               of claimed       damages     unless     the percentage          of responsibility         of Defendants               when


compared           with that of the Plaintiff,        and any other party, settling            party and/or each responsible                    third


party is equal to or greater than 51%.


                                                                     VII.


             Defendants         assert that the occurrence,         injuries     and damages alleged by the Plaintiff                   resulted


from an intervening,              superseding,       new or independent            cause, including        but not limited           to the acts


of the Plaintiff,            third     parties    and/or   responsible         third    parties,    including,       but    not      limited      to,


Plaintiffs         employer,          Exterran    Corporation,      without       the knowledge          or consent         of Defendants,


which    was the proximate                 and/or producing        cause and/or         sole proximate       and/or        sole cause of the


occurrence,          injuries    and damages alleged by the Plaintiff.                   Moreover,      the occurrence,           injuries       and


damages           were caused by separate,             independent          events      or agencies    not reasonably             foreseeable.


Such separate, independent                   events or agencies destroyed               a causal connection,         if any, between             any
                                                                       3
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breach      of legal duty on the part of the Defendants                              and the occurrence,          injuries     and damages            alleged


by the Plaintiff,             and thereby      became        the immediate               and/or    sole cause and/or            proximate           cause of


such occurrence,               injuries     and damages,           relieving          Defendants     of liability       to the Plaintiff        or to any


other party.


                                                                              VIII.


             Pursuant to Rule 193.7 of the Texas Rules of Civil Procedure, Defendants hereby give

actual      notice       to Plaintiff      that any and all documents                   produced     may be used against                 the Plaintiff      or


any other party             at any pretrial      proceeding          and/or       at the trial     of this matter       without        the necessity        of


authenticating             the documents.


                                                                               IX.



             Defendants           also assert limitations             on the recovery              of medical         damages       as set forth          in §


41.0105        of the Texas Civil            Practices      and Remedies                Code.


                                                                                X.


             Defendants          further     invoke     Texas Civil          Practice      & Remedies          Code § 18.091        and would            show


unto     the Court          that any claimant           seeking      recovery           for loss of earnings,          loss of earning              capacity,


loss of contribution              of a pecuniary         value,      or loss of inheritance              should      be required         to be presented


in the form           of a net loss after             reduction       for     income       tax payments           and Defendants             will     further


request jury          instructions        regarding      whether       recoveries          are subject     to Federal        or State income            taxes.


                                                                               XI.


             Plaintiff       may not recover            punitive      damages            in this   case, Texas        law      already     compensates


Plaintiff       for      every     element      of    damages.              Punitive       damages        do   not     serve     any      function        now


appropriate           in the context        of a case for civil         damages.


                                                                                 4
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                                                                               XII.


            If t's      Court      decides       that punitive           damages         should      be awarded       in this case, the damages


should      go to a charitable              or public        body     rather     than to Plaintiff         and is     counsel.         The purpose         of


punitive      damages          would        not be served          by a windfall          award      to the parties    to civil      litigation.


                                                                               XIII.


            Punitive         damages         should        not be awarded              in this case since     the criminal        statutes         of Texas


servetheappropriatefunctiontopunishanywrongfulconductbyDefendants.                                                             Asaresult,punitive


damages        are not necessary              to fulfill     any function             or punishment       or deterrence.


                                                                               XIV.


            Plaintiff        should    be not permitted              to recover          punitive     damages     in this case since the award


of such damages              would     be a simple           windfall      for Plaintiff.           Such damages       would      be awarded          at the


expense      of future         Plaintiffs      if the economic            viability        of Defendants         is threatened        by the award         in


this case.       Plaintiff       may recover            his full     amount           of compensatory        damages         under     Texas       law,   and


the award       of punitive           damages         is not justified.


                                                                               XV.


            The award           of punitive        damages          in this case would              be against      public    policy.        As a result,


Plaintiff     should     not be entitled            to recover          such damages.


                                                                               xvt.


            The award          of punitive        damages           in this case is unconstitutional.                 Such award          would      violate


Defendants'rightstodueprocessoflaw.                                   Punitivedamagesconstituteatakingofpropeitywithout


due process.         There       are no reasonable             standards         to use for the award           of such damages.             Defendants
                                                                                  5
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are being punished           without     a specific     statutory     scheme as required                by both the state and federal


constitutions.         There are insufficient         procedural      safeguards         for such an award.


                                                                   XVII.


           If this court decides that punitive             damages should be awarded,                     the award of such damages


should be limited           to an amount     not greater than the total amount                   of compensatory          damages in the


case. The jury         should not be permitted           to simply         speculate      about the award of such damages.


                                                                  XVIII.


           The     award      of punitive       damages      in     this     case is unconstitutional                and would         violate


Defendants'        rights    to due process      of law since the award of such damages is based solely                                  upon


speculation       by the jury.      The jury     should not have limitless                 discretion     in the award of potentially


disastrous       damages against Defendants.               Punitive        damages, unlike           achial damages,            are not based


on any rational         decision.      Such speculation      by the jury         is unlawful.


                                                                    )aX.


           Punishment        and deterrence      are not viable theories               of recovery      in a civil   setting.     As a result,


punitive     damages are not appropriate               in this case.         Civil     juries   are not equipped         or authorized       to


handle such matters.


                                                                    XX.


           If this Court decides that punitive             damages should be awarded,                     the damages must be based


on a finding      of intention,     malicious     and conscious             criminal      misconduct       by Defendants.


                                                                    XXI.


           Plaintiff    should not be entitled          to recover        punitive      damages      in t's    case because there is a


total lack of uniformity,           consistency        and predictability            in the award         of punitive     damages.        The



                                                                      6
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awardisanunfettereddestnictiveforcewbicherodesanyeconomicstabilityinsociety.                                                           Thepublic


policy      against      such an award        far outweighs         any reasonable             notion     of punishment          or deterrence.




                                                                          XXII.


            Plaintiff      should      not be entitled      to recover        punitive        damages       in tis     case since the threat       of


punitive      damages        is amethod       by which        Plaintiff      seeks to intimidate            Defendants         into excessive     and


unreasonable            settlements.       This    approach      clearly      violates       public     policy.


                                                                        XXIII.


            Plaintiff      should      not be entitled       to recover           punitive     damages        in this case since Plaintiff             is


using      the threat     of punitive      damages        to inflame,       bias and prejudice             the jury.    This     approach    clearly


violates     public      policy.


                                                                        XXIV.


            The     award      of punitive        damages       in this      case is unconstitutional.                 Such     an award     would


violate     the Excessive          Fines   Clause    of the EighthAmendment                      as applied       to this proceeding        through


the Fourteenth           Amendment.


                                                                          XXV.


            The award         of punitive         damages      in this case is improper                 under     the U. S. Constitution          and


the Texas         Constitution.          Such an award          would        violate     Defendants'          rights    to due process       of law


under      the U. S. Constitution            and the Texas          Constitution.            There      are no standards         for the award      of


such damages.              Such an award          would     be taking        a property        without      the due process         of safeguards


set forth     in the U. S. Constitution              and the Texas           Constitution.


                                                                        XXVI.



                                                                             7
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           Defendants           assert all of the provisions              and defenses contained              in Chapter     41 of the Texas


Civil    Practice      and Remedies          Code.       Plaintiff       may not be awarded               exemplary     damages unless he


establishes        by clear and convincing              evidence         that Defendant           acted with     malice,     which    it denies.


Tex.Civ.Prac.            & Rem. Code §41.003.                  Defendant          fuither     requests     that the jury     be instructed      as


requiredbyTex.Civ.Prac.                &Rem.         Code §41.Ol2withrespectto                     anyclaimforexemplarydamages,


assuming          such    a claim      should     be submitted              to the jury,          wMch      Defendants       deny,     and that


prejudgment          interest     may not be assessed or recovered                          on any award       of punitive       or exemplary


damages. Tex.Civ.Prac.               & Rem. Code §41.007.


           In the unlikely           event of any exemplary                    damage         award,     Defendants      further     invoke    the


provisions        of Tex.Civ.Prac.          & Rem. Code §41.008                    limiting     any award of exemplary             damages to


either    $200,000        or (2) times the amount                of "economic            damages,"        as defined     by statute, plus an


amount      equal to any non-economic                   damages found by the jury,                 but not to exceed $750,000.00.

                                                                        XXVII.


           None of the acts or omissions                   alleged        by Plaintiff        as the underlying        cause of is       alleged


damages was perpetrated                by Defendant,            Northwest          Logistics      Heavy     Haul's,    vice principals        and,


accordingly,         does not and cannot support                 an award of punitive             or exemplary         damages against this


Defendant.         Exemplary        damages may be awarded                   against a corporation           "only     if the corporation      (1)


authorizes        or ratifies    an agent's/employee's               malice,      (2) maliciorisly        hires an unfit agent, or (3) acts


with     malice     through       a vice principal."           Qwest Int'l        Commc'ns,        Inc.    v. AT&T      Corp.,     167 S.W.3d


324, 326 (Tex.            2005)    citing    Mobil      Oil Corp.          v. Ellender,968           S.W.2d     917, 921 (Tex.         1998)    (a


corporation        can only be held liable for punitive                    damages if it authorizes            or ratifies   an agent's gross


negligence        or if it is grossly       negligent     in   baning      an unfit     agent).


                                                                        XXVIII.
                                                                           8
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           Defendants    assert the defense           of unavoidable         accident      and the jury     should     be instructed


accordingly.       An occurrence            may be an unavoidable            accident,        that is, an event not proximately


caused by the negligence           of any party to the occurrence.




                                                               XXIX.


           Defendants    assert the defense of emergency                  and the jury        should be instructed      accordingly.


The incident      in question     resulted from an "emergency"                 arising    suddenly     and rtnexpectedly,        which


was not proximately          caused by any negligence                on the part of these Defendants              and which,        to a


reasonable     person,   requires     immediate       action    without        time for deliberation.       The conduct        in   such


an emergency       is not negligence          or failure   to use ordinary            care if, after such emergency           arises,     a


person     acts as a person         of ordinary       prudence         would     have      acted under     the same or similar


circumstances.


                                                                XXX.



           Defendants    would      show that any injuries,           damages or liabilities         complained        of by Plaintiff


are the result,    in whole     or in part, of pre-existing             conditions,      injuries,   diseases and disabilities           or


subsequent     conditions,      injuries,     diseases or disabilities         of Plaintiff     and not the result of any act or


omission     on the part of the Defendants.


                                                               XXXI.


           Defendants    allege that the Plaintiff          failed      to mitigate,      reduce     or prevent   is     damages,        if


any, as required     under applicable          law.


                                                               XXXII.




                                                                  9
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            Further,     Defendants       urge that if Plaintiff       has failed to make and perfect               any available          claim


for health      insurance       or worker's           compensation           insurance     or any other          available     method        for


reducing      the cost of necessary           medical      care, then Plaintiff          has failed     to mitigate     his damages             as


required,     and recovery       for such damages, if any, should be reduced on that basis.



            Defendants       further     assert the terms and conditions             of the Affordable           Care Act requiring           all


persons to carry and use health and medical                        insurance       coverage.        Accordingly,      Plaintiff's      failure


to do so, if any, amounts                to a failure     to mitigate        the costs of his health            and medical         care     and


treatment,     both past and future.



                                                                   XXXIII.
                                       DESIGNATION            OF RESPONSIBLE                 THIRD        PARTY


            The incident      made the basis of this lawsuit                 was caused, in whole             or in part, by the acts or


omissions      of      the negligence      or conduct       of Plaintiff's       employer,         Exterran     Corporation,        including


but not limited         to its failure    to train,     instruct    and/or     supervise     the Plaintiff,       and its negligence            or


fault should be submitted              to the Jury.



           Texas employers          such as Exterran         Corporation        are charged withnon-delegable                  duties owed


to their employees         to train them, provide           them with safe equipment,                a safe place to work,          safe tools


to do the work,         competent        co-employees        to assist with        the work,       and safety regulations           enforced


in the workplace.           Pursuant       to Section      33.004      of the Texas        Civil     Practice     and Remedies          Code,


Defendants       hereby designate the Plaintiff's              employer,        Exterran     Corporation,         as a responsible         third


party whose conduct            should be considered            by the Jury in this case.



                                                                   XXXIV.
                                                           RESERV          ATION

                                                                      10
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           Defendants        specifically            reserve    the right      to file   additional         amended         and/or     supplemental


Answers,       Third-Party         Complaints,            Counterclaims            and/or     Cross         Claims,       additional     affirmative


defenses      and/or       other      matters         constituting       avoidance          such      as the      facts      of this    matter      may


disclose     and require.



                                                                JURY     DEMAISID


           Further, Defendantsherein, pursuant to the provisions of Rule 216 of the TexasRules of

Civil    Procedure,     hereby        formally        make this demand            and application           for a jury      trial in this litigation.


The appropriate         fee is being          paid    contemporaneously              with   the filing        of this answer.


           WHEREFORE,                 PREMISES              CONSIDERED,                  Defendants,          Nick    Roosa          and Northwest


Concrete      Products,       Inc.,     d/b/a        Northwest        Logistics      Heavy         Haul,      incorrectly       named      herein       as


Northwest      Logistics      Heavy          Haul,     herein    pray that the Plaintiff           takes notbing           by reason of this suit,


that the Defendants          be discharged             and that they go hence with                  their    costs, without          day, and for all


such other      and further        relief,     both      general      and special,        at law     and in equity,           to which     they     may


show themselves         justly     entitled,         for wMch        they will     in duty bound            forever   pray.




                                                                          11
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                                                                    Respectfully         submitted,


                                                                    TAUNTON,          SNYDER       & PARISH,        p.c.

                                                                    /s/ John       P. Abbey


                                                                    John    P. Abbey
                                                                    Texas       Bar No.:      # 00789010
                                                                    777 North         Eldridge       Parkway,      Suite    450
                                                                    Houston,        Texas     77079
                                                                    713/961-5800
                                                                    FAX     713/993-2308
                                                                    iabbey@tsplaw.com
                                                                    Attorney forDefendarits, NickRoosa and
                                                                    Northwest         Concrete       Products,      Inc.,   d/b/a        Northwest
                                                                    Logistics       Heavy     Haul



                                                      CERTIFICATE           OF     SERVICE


          I hereby      certify     that    a true    and correct    copy    of the above          and foregoing          document         has been

sent   to all parties      and/or       their      counsel   of record      via    E-filing      pursuant       to Rule     21a     of    the   Texas

Rules of CivilProcedure, on tis Ist day of February, 2021.

          J. Moises       Cedillos                                                Via E-Service:        moises@,ceddloslaw.com
          CEDILLOS            LAW          FIRM,      PLLC
          3801   Kirby       Drive,        Suite     510
          Houston,       Texas        77098

          Attorneys for Plaintiff,
          Chan   Inthavong


                                                                    /s/ John       P. Abbey


                                                                    JOHN          P. AJ3BEY




                                                                       12
